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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


         UNITED STATES OF AMERICA,
                           Plaintiff,
                                                 HONORABLE AVERN COHN
               v.
                                                 No. 05-80955-2
         DEMETRIUS EDWARD FLENORY (2),
                        Defendant.
         _____________________________/


                                      PLEA HEARING
                               Monday, November 19, 2007
         Appearances:
         Michael C. Leibson
         Dawn N. Ison                            James L. Feinberg
         U.S. Attorney's Office                  Law Offices
         211 W. Fort Street, #2300               2632 Buhl Building
         Detroit, Michigan 48226                 Detroit, Michigan 48226
         (313) 226-9100                          (313) 962-8280
           On behalf of Plaintiff
                                                 Drew Findling
                                                 Alixe E. Steinmetz
                                                 Findling Law Firm
                                                 3490 Piedmont Road, #600
                                                 Atlanta, Georgia 30305
                                                 (404) 460-4500
                                                   On behalf of Defendant
                                     -   -   -
                    To obtain a certified transcript, contact:
                      Sheri K. Ward, Official Court Reporter
                     Theodore Levin United States Courthouse
                                 Detroit, Michigan
                       (313)965-4401 • sward@fedreporter.com
                 Proceedings   recorded    by   mechanical   stenography.
              Transcript   produced   by   computer-aided    transcription.
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   1                                        Detroit, Michigan
   2                                        Monday, November 19, 2007
   3                                        2:08 p.m.
   4                                   -    -   -
   5                 THE CLERK:    Now calling Case Number 05-80955,
   6     United States of America v. Demetrius Flenory, Defendant
   7     Number 2.    Will counsel please identify themselves for the
   8     record.
   9                 MS. ISON:    For the record, Your Honor, Dawn Ison
  10     for the government and Michael Leibson.
  11                 MR. FEINBERG:    James L. Feinberg, Drew Findling,
  12     and Alixe Steinmetz for Mr. Flenory, and Mr. Flenory is to
  13     my left.
  14                 THE COURT:    I recognize him by the color of his
  15     clothing.
  16                 You are Demetrius Flenory?
  17                 THE DEFENDANT:    Yes.
  18                 THE COURT:    You are the person named in the
  19     indictment returned October 20, 2005?
  20                 THE DEFENDANT:    Yes, sir.
  21                 THE COURT:    And you are here to plead guilty to
  22     Counts 3 and 10?
  23                 THE DEFENDANT:    Yes.
  24                 THE COURT:    Before accepting your plea I have a
  25     number of questions to ask to be sure it's a good plea and


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   1     you know what you are doing.         If you don't understand a
   2     question, say so.     If you want to talk to your lawyer, say
   3     so.
   4                 Swear the defendant.
   5                 THE CLERK:    Raise your right hand.
   6                                   -     -     -
   7                              DEMETRIUS FLENORY,
   8              being first duly sworn by the deputy clerk to
   9              tell the truth, was examined and testified
  10              upon his oath as follows:
  11                 THE COURT:    Do you understand if you don't answer
  12     a question truthfully you can be charged with perjury?
  13                 THE DEFENDANT:    Yes.
  14                 THE COURT:    How old are you, sir?
  15                 THE DEFENDANT:    39.
  16                 THE COURT:    How far did you go in school?
  17                 THE DEFENDANT:    10th grade.
  18                 THE COURT:    Have you ever been under a doctor's
  19     care or in a hospital for drug addiction?
  20                 THE DEFENDANT:    No.
  21                 THE COURT:    Have you had any drugs or medicine or
  22     anything to drink in the last 24 hours?
  23                 THE DEFENDANT:    No.       Well, I had an acid reflux
  24     pill.
  25                 THE COURT:    Okay.   Do you have a lawyer?


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   1                 THE DEFENDANT:    No.    A wire, what?
   2                 THE COURT:    A lawyer.
   3                 THE DEFENDANT:    Yes.
   4                 THE COURT:    You have a lawyer, right?      Right?
   5                 THE DEFENDANT:    I have a lawyer, yes.
   6                 THE COURT:    Okay.   Have you had a chance to talk
   7     to your lawyers?
   8                 THE DEFENDANT:    Yes.
   9                 THE COURT:    And you are satisfied with them?
  10                 THE DEFENDANT:    Yes.
  11                 THE COURT:    You understand that under our
  12     Constitution and laws you are entitled to a jury trial on
  13     the charges against you?
  14                 THE DEFENDANT:    Yes.
  15                 THE COURT:    You understand if there was a trial
  16     you would be presumed innocent, the government would have to
  17     overcome the presumption, prove you guilty by competent
  18     evidence beyond a reasonable doubt, and you would not have
  19     to prove you were innocent?
  20                 THE DEFENDANT:    Yes.
  21                 THE COURT:    Do you understand if there was a trial
  22     witnesses for the government would have to come in the
  23     courtroom and testify in front of you, your lawyer could
  24     cross-examine the witnesses, object to the evidence offered
  25     by the government, and offer evidence on your behalf?


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   1                 THE DEFENDANT:    Yes.
   2                 THE COURT:    You understand if there was a trial
   3     you would have the right to use subpoenas to force the
   4     attendance of witnesses whether they wanted to come into the
   5     courtroom or not?
   6                 THE DEFENDANT:    Yes.
   7                 THE COURT:    You understand if there was a trial
   8     you would have the right to testify if you wanted to, you
   9     would have the right not to testify, and no inference or
  10     suggestion of guilt could be drawn from the fact that you
  11     did not testify?
  12                 THE DEFENDANT:    Yes.
  13                 THE COURT:    You understand if you plead guilty and
  14     I accept your plea you waive your right to a trial and all
  15     of the other rights I have described, there is not going to
  16     be a trial, and I will simply enter a judgment of guilty and
  17     sentence you on the basis of your guilty plea?
  18                 THE DEFENDANT:    Yes.
  19                 THE COURT:    If you plead guilty you also
  20     understand you waive your right not to incriminate yourself
  21     since I may ask you questions about what you did to satisfy
  22     myself that you are guilty and you will have to acknowledge
  23     the fact that you are guilty?
  24                 THE DEFENDANT:    Yes.
  25                 THE COURT:    Considering all that I have said, are


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   1     you willing to give up all of these rights and plead guilty?
   2                 THE DEFENDANT:    Yes.
   3                 THE COURT:    Have you read the indictment?
   4                 THE DEFENDANT:    Yes.
   5                 THE COURT:    Have you discussed with your lawyer
   6     the charges, particularly Counts 3 and 10 which you intend
   7     to plead guilty to?
   8                 THE DEFENDANT:    Yes.
   9                 THE COURT:    In Count 3 the offense is continuing
  10     criminal enterprise.      Do you know what the maximum
  11     punishment under law is for that?
  12                 THE DEFENDANT:    Yes, life.
  13                 THE COURT:    Count 10 is money laundering.       Do you
  14     know what the maximum punishment under the law is for that?
  15                 THE DEFENDANT:    I think 20.
  16                 THE COURT:    That's right.    Has anyone threatened
  17     you or forced you to plead guilty?
  18                 THE DEFENDANT:    No, sir.
  19                 THE COURT:    There has been a plea agreement --
  20                 MS. ISON:    On the CCE, Your Honor, there is a
  21     mandatory minimum as well.
  22                 THE COURT:    Okay.   Well, all I asked him is if he
  23     understands the maximum under the law.
  24                 There has been a plea agreement between you and
  25     the government, right?


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   1                  THE DEFENDANT:    Yes.
   2                  THE COURT:    What's your understanding of the
   3     agreement?
   4                  THE DEFENDANT:    That I won't be enhanced.
   5                  THE COURT:    Pardon?
   6                  THE DEFENDANT:    That I couldn't be --
   7                  THE COURT:    Well, first of all, what's the
   8     sentencing range?
   9                  THE DEFENDANT:    30 to life.
  10                  THE COURT:    And that's on the basis of guidelines?
  11                  THE DEFENDANT:    Right.
  12                  THE COURT:    That's a recommended?
  13                  THE DEFENDANT:    Right.
  14                  THE COURT:    And that takes into account your
  15     criminal history and the nature of your offenses?
  16                  THE DEFENDANT:    Right.
  17                  THE COURT:    And there's a minimum, right?
  18                  THE DEFENDANT:    30.
  19                  THE COURT:    20 years, right?
  20                  MS. ISON:    That's by statute, Your Honor.
  21                  THE COURT:    By law, but there's also a provision
  22     in the agreement, isn't there, that I can't --
  23                  MR. FEINBERG:    No, the agreement is that the
  24     guidelines are 30 to life, but --
  25                  THE COURT:    Let me do it.


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   1                 MR. FEINBERG:    Okay.    I'm sorry.
   2                 THE COURT:    You know, that's why I took the job.
   3                 However, the Court must impose a sentence of
   4     imprisonment on Count 3 of at least 20 years.
   5                 MR. FEINBERG:    Yes.
   6                 THE COURT:    That's a provision of the agreement,
   7     right?
   8                 MR. FEINBERG:    Yes.
   9                 THE DEFENDANT:    On both counts.
  10                 THE COURT:    Well, I understand, but there is a
  11     provision that I have to give you at least 20 years?
  12                 THE DEFENDANT:    Right.
  13                 THE COURT:    And if I don't the government can
  14     withdraw from this deal?
  15                 THE DEFENDANT:    Right.
  16                 THE COURT:    Okay.    When you go to prison after you
  17     get out there's a period of supervised release?
  18                 THE DEFENDANT:    Yes.
  19                 THE COURT:    Right?
  20                 THE DEFENDANT:    Yes.
  21                 THE COURT:    There is also a $200 special
  22     assessment, right?
  23                 THE DEFENDANT:    Yes.
  24                 THE COURT:    And I can impose a fine on either
  25     count up to $250,000, right?


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   1                 THE DEFENDANT:     Yes.
   2                 THE COURT:     And if I let you withdraw your guilty
   3     plea for any reason, they can use these statements made here
   4     today against you, right?
   5                 THE DEFENDANT:     I guess, yes.
   6                 THE COURT:     Okay.   And there is also a forfeiture,
   7     but there is nothing specific set forth in the forfeiture,
   8     right?
   9                 THE DEFENDANT:     Right.
  10                 THE COURT:     And if I accept this agreement and we
  11     go forward, any other charges against you are dismissed,
  12     right?
  13                 THE DEFENDANT:     Yes.
  14                 THE COURT:     And if we don't exceed what the
  15     agreement says, you have no right to appeal, right?
  16                 THE DEFENDANT:     Right.
  17                 THE COURT:     And if it should turn out that your
  18     criminal history is different than that which you have all
  19     agreed upon, I can go higher, right, but you can't get out
  20     of it?
  21                 THE DEFENDANT:     Go higher than what, 30?
  22                 THE COURT:     Yeah.   I don't know how I can go
  23     higher because I think that -- but there is that provision,
  24     is there not?
  25                 MR. LEIBSON:     There is.   It's a standard


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   1     provision, but it's essentially moot.
   2                 THE COURT:     What?    You agreed that his criminal
   3     history is 2?
   4                 MR. LEIBSON:     Yes.
   5                 THE COURT:     Okay.
   6                 MS. ISON:    Yes, Your Honor.
   7                 THE COURT:     Okay.    Have we now gone over the
   8     agreement?
   9                 MS. ISON:    Yes.
  10                 MR. FEINBERG:     Yes.
  11                 THE COURT:     Has anyone made any promises to you
  12     other than this plea agreement to get you to plead guilty?
  13                 THE DEFENDANT:      No.
  14                 THE COURT:     You know I'm not obligated to accept
  15     this agreement, and if I don't, I'll tell you here in open
  16     court, in which event you can continue your plea or withdraw
  17     it, but I'm not bound by it?
  18                 THE DEFENDANT:      Yes.
  19                 THE COURT:     Has anyone made any prediction or
  20     prophesy or promise to you as to what I'm going to do?
  21                 THE DEFENDANT:      No.
  22                 THE COURT:     Did you, as charged in Count 3, engage
  23     in a continuing criminal enterprise?
  24                 THE DEFENDANT:      Yes.
  25                 THE COURT:     What did you do?


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   1                 THE DEFENDANT:     I --
   2                 THE COURT:    You don't have to go into all of the
   3     details, but briefly.
   4                 THE DEFENDANT:     I just, I was the leader of a few
   5     individuals that was involved in the case.
   6                 THE COURT:    You were a leader of a group of people
   7     who were involved --
   8                 THE DEFENDANT:     Yeah, I supervised them.
   9                 THE COURT:    Supervised them.     Involved in dealing
  10     in controlled substances?
  11                 THE DEFENDANT:     Yes.
  12                 THE COURT:    And laundering money?
  13                 THE DEFENDANT:     Yes.
  14                 THE COURT:    And it was an extensive operation?
  15                 THE DEFENDANT:     Yes.
  16                 THE COURT:    It lasted a long time?
  17                 THE DEFENDANT:     Yes, sir.
  18                 THE COURT:    Okay.   And part of it took place here
  19     in Michigan, right?
  20                 THE DEFENDANT:     Yes.
  21                 THE COURT:    And you used telephones and other
  22     sorts of things, right?
  23                 THE DEFENDANT:     Yeah.   I didn't use no telephones,
  24     but --
  25                 THE COURT:    You didn't, but others did?


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   1                 THE DEFENDANT:     Yes.
   2                 THE COURT:     You knew what was going on?
   3                 THE DEFENDANT:     Yes.
   4                 THE COURT:     And you made money on it?
   5                 THE DEFENDANT:     Yes.
   6                 THE COURT:     Do you have anything more, Ms. Ison,
   7     on Count 3?
   8                 MR. LEIBSON:     Yes.
   9                 THE COURT:     Go ahead.
  10                 MR. LEIBSON:     Would the defendant admit that he
  11     supervised at least five other individuals that are named on
  12     the indictment?
  13                 THE DEFENDANT:     Yes, I did.
  14                 MR. LEIBSON:     And that there were at least
  15     three transactions that violated Title 21, that is, either
  16     cocaine distribution or phone counts, and that he as part of
  17     this was involved in at least three of those?
  18                 THE DEFENDANT:     Yes.
  19                 THE COURT:     Okay.    Count 10 charges you with money
  20     laundering.     Did you engage in money laundering?
  21                 THE DEFENDANT:     Yes.
  22                 THE COURT:     Tell me what you did.
  23                 THE DEFENDANT:     I bought a couple of vehicles.
  24                 THE COURT:     Well, you took drug proceeds?
  25                 THE DEFENDANT:     Yes.


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   1                 THE COURT:    Cash?
   2                 THE DEFENDANT:     Yes.
   3                 THE COURT:    And you bought things with it?
   4                 THE DEFENDANT:     Yes.
   5                 THE COURT:    And, by the way, both on Count 3 and
   6     Count 10 you knew this was against the law?
   7                 THE DEFENDANT:     Yes.
   8                 THE COURT:    Anything more?
   9                 MS. ISON:    You also purchased real estate in
  10     others' names, is that correct, or others purchased real
  11     estate on your behalf?
  12                 THE DEFENDANT:     Yeah, I leased real estate.       I
  13     didn't purchase it.      I leased it.
  14                 MS. ISON:    Did others purchase real estate on your
  15     behalf?
  16                 THE DEFENDANT:     Yes.
  17                 MS. ISON:    And those properties were purchased
  18     with drug proceeds?
  19                 THE DEFENDANT:     Yes.
  20                 MS. ISON:    Okay.    And you received a substantial
  21     amount of income from your involvement in this conspiracy;
  22     is that right?
  23                 THE DEFENDANT:     Yes.
  24                 MS. ISON:    And you were one of the principal
  25     leaders of this organization; is that right?


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   1                 THE DEFENDANT:     Yes.
   2                 THE COURT:    Anything more?
   3                 MS. ISON:    I think that does it, Your Honor.
   4                 THE COURT:    What?
   5                 MS. ISON:    I think that's it.
   6                 THE COURT:    Since you acknowledge you are in fact
   7     guilty as charged in Count 3 and in Count 10; since you know
   8     you have a right to trial and what the maximum punishment
   9     is; since you are voluntarily pleading guilty, I accept your
  10     plea and enter a judgment of guilty.
  11                 I find your plea is free and voluntary, you
  12     understand the charges and penalties, the plea agreement has
  13     been properly executed, and there is a factual basis for the
  14     pleas.
  15                 The clerk is ordered to enter the pleas of guilty.
  16     You now stand convicted on Counts 3 and 10.          I'm going to
  17     obtain a presentence investigation report.          Your lawyers
  18     will explain to you what that is.        You will be expected to
  19     cooperate with the probation officer in furnishing
  20     information for the report and you will be expected to be
  21     back here for the time and date set for your sentencing.               If
  22     you are in custody, I'm sure you will be.          Thank you.
  23                 MR. FEINBERG:     Thank you, Judge.
  24                 MR. FINDLING:     Your Honor, I do want to let you
  25     know because we have talked about this before, we have


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   1     talked with the government and they have talked with the
   2     U.S. Attorney's Office in the Eastern District of Texas.
   3     Immediately after the sentencing in this case our
   4     understanding is that that U.S. Attorney's Office will
   5     dismiss the federal case in the Eastern District of Texas.
   6                 MS. ISON:    That is correct, Your Honor.
   7                 THE COURT:    Okay.   That's part of the agreement?
   8                 MS. ISON:    Yes, Your Honor.
   9                 MR. FEINBERG:     Thank you, Judge.
  10                 THE COURT:    Thank you.
  11           (Proceedings concluded at 2:17 p.m.)
  12                                   -    -    -
  13                          C E R T I F I C A T I O N
  14                  I, Sheri K. Ward, official court reporter for the
  15        United States District Court, Eastern District of
  16        Michigan, Southern Division, appointed pursuant to the
  17        provisions of Title 28, United States Code, Section 753,
  18        do hereby certify that the foregoing is a correct
  19        transcript of the proceedings in the above-entitled cause
  20        on the date hereinbefore set forth.
  21                  I do further certify that the foregoing
  22        transcript has been prepared by me or under my direction.
  23
  24
         _______________________                     October 3, 2008
  25     Sheri K. Ward                               Date Completed
         Official Court Reporter

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